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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                                 SAN FRANCISCO DIVISION
 3
     HUAWEI TECHNOLOGIES CO., LTD.,
 4   HUAWEI DEVICE USA, INC., and
     HUAWEI TECHNOLOGIES USA, INC.,
 5                                                      Case No. 3:16-cv-2787-WHO
                    Plaintiffs / Counterclaim-
 6                  Defendants,
     v.                                                 JOINT CASE MANAGEMENT
                                                        CONFERENCE STATEMENT
 7
     SAMSUNG ELECTRONICS CO., LTD.,
 8   SAMSUNG ELECTRONICS AMERICA,                       Date:         May 4, 2018
     INC.,                                              Time:         2:00 p.m.
 9                                                      Dept.:        Courtroom G, 15th Floor
                    Defendants / Counterclaim-
                    Plaintiffs,                         Judge:        Honorable Joseph C. Spero
10                                                      Trial Date:   December 3, 2018
11                  and

12   SAMSUNG RESEARCH AMERICA,

13                  Defendant,
     v.
14
     HISILICON TECHNOLOGIES CO., LTD.,
15
                    Counterclaim-Defendant.
16
17          Pursuant to the Court’s Order of January 22, 2018 (Dkt. 228), Federal Rule of Civil

18 Procedure 26(f), Civil Local Rule 16-9(a), and the Standing Order for All Judges of the Northern
19 District of California – Contents of Joint Case Management Statement, Plaintiffs/Counterclaim-
20 Defendants Huawei Technologies Co., Ltd., Huawei Device USA, Inc., and Huawei Technologies
21 USA, Inc., and Counterclaim-Defendant Hi-Silicon Technologies Co. Ltd. (collectively, “Huawei”)
22 and Defendants/Counterclaim-Plaintiffs Samsung Electronics Co., Ltd., and Samsung Electronics
23 America, Inc., and Defendant Samsung Research America (collectively “Samsung”) jointly submit
24 this Case Management Statement.
25          At this time, the parties do not have any specific issues to address at the May 4, 2018 case

26 management conference, but will be prepared to discuss the current status of the case.
27 / / /
28 / / /

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                                                            JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1 I.       ADDITIONAL INFORMATION REQUIRED BY THE DISTRICT’S STANDING
            ORDER
 2
 3          The parties previously submitted a Joint Case Management Conference Statement (Dkt. 67)

 4 that includes additional information required by the District’s Standing Order, such as the basis for
 5 jurisdiction, the factual background for this case, and the principal disputed legal issues. The parties
 6 update this information as follows:
 7          Motions. Huawei’s Rule 59(e) Motion to Alter or Amend the Court’s April 13, 2018 Order

 8 Granting Samsung’s Motion for Antisuit Injunction (Dkt. 285) was filed on April 20, 2018.
 9          Discovery Status. Fact discovery is largely complete. Expert discovery is ongoing.

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                                                              JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1   Dated: April 27, 2018                                Respectfully Submitted,
 2
     By: /s/ Michael J. Bettinger                         By: /s/ Charles K. Verhoeven
 3
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19                                                        Samsung Research America, Inc.
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20   Huawei Device USA, Inc., Huawei
21   Technologies USA, Inc., and HiSilicon
     Technologies Co., Ltd.
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                                                             JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1                                          ATTESTATION
 2
 3         Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in
 4 the filing of this document has been obtained from the other signatories above.
 5
 6 Dated: April 27, 2018                         By: /s/ Michael J. Bettinger
                                                      Michael J. Bettinger
 7                                                    Attorneys for Huawei Technologies Co., Ltd.,
                                                      Huawei Device USA, Inc., Huawei Technologies
 8
                                                      USA, Inc., and HiSilicon Technologies Co. Ltd.
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